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 1
                         UNITED STATES DISTRICT COURT
 2
                       SOUTHERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,            Case No.: 20CR2972-GPC
 5              Plaintiff,                 JUDGMENT AND
 6
                                          ORDER GRANTING MOTION                TO
          V.                              DISMISS THE INDICTMENT
 7
 8   DENISE RACINE,
                                          The Honorable Gonzalo P. Curiel
 9              Defendant
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13       Upon motion by the United States and for good cause shown,
14       IT IS ORDERED that this Indictment be dismissed without prejudice.
15       SO ORDERED.
16
17 Dated:May 5, 2021
18                               THE HONORABLE GONZALO P. CURIEL
                                 United States District Judge
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